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                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 KAIFI LLC,                                        §
                                                   §
               Plaintiffs,                         §
                                                   §
 v.                                                §          CASE NO. 2:20-cv-281-JRG
                                                   §
 T-MOBILE US, INC. and T-MOBILE USA,               §
 INC.,                                             §
                                                   §
               Defendant.                          §
                                                   §

                             NOTICE OF ADDITIONAL ATTACHMENTS

       Defendants T-Mobile US, Inc. and T-Mobile USA, Inc. file this Notice of Additional

Attachments including a certificate of conference and a proposed order to their Emergency Sealed

Motion for Stay Based on Rejection of All Claims in Ex Parte Reexaminations and Defendants

Voluntary Withdrawal of all Invalidity Defenses (Dkt. 438).



Dated: November 29, 2021                           Respectfully submitted,

                                                   By: /s/ Melissa R. Smith ________________
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                                                  Counsel for Defendants T-Mobile US, Inc.
                                                  and T-Mobile USA, Inc.


                              CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served this 29th day of November, 2021, with a copy of this document via the

Court’s CM/ECF system per Local Rule CV-5(a)(3).




                                                   /s/ Melissa R. Smith
                                                   Melissa R. Smith
